Case 2:18-cr-00422-DJH Document 2009-2 Filed 12/04/23 Page 1 of 6

VILLAGE VOICE MEDIA HOLDINGS, LLC
BACKPAGE COM, LLC

Cifics of General Counsel
7G08 Wiestorn Avenue, Suite 308
Snatiie Washingyles 85404

BY US, MAL AND E-MAIL

gional! Association of Athurneys Gervaral
wh Paulie Bails, Fen Senior Gourde!

Cine of ine Attorney General of Waeshingtan
BOO Filth Avenue, Bulte 2000

Seetlie, Washington S6104-2188

Re: National Association of Attorneys General Demand for Elimination of
Backpage. com's Adult Category and Reguasis lor informaiion

Dea Aforrieys Gerurat

On bale of Backgiage com, LLO. thio letter responds io comespondence from vanous members of ine
Mahone Association of Aliomeys General since 200% iriducding NAAG's August 31, 2041 demand fer
slyinalionof Backpage con's adult advenisaments calegory and request ior more information,

We agree wilh NAAG fegarding many igsues that have benome oreninen! cr ie Intermed fb should ga

without saying tat nose issues incude tnanarn ialicking and ihe sexual expiniiaton of chiar, which

are abhorrent Gur goal has been anc cominues to be te work wih NAAT. individual shates’ Atlorieys

General, law eclorcerient agencies, NGOs, and alher arline indusiry partniganta to ight ond treficsers.

’a experis and iw onfomement mersirinel have recognized, websites such ae Backoage cam ane ter

lechnology, resources arnt willingness tc coeperate tan ard should be key participanis in the achulion fo
giobel ard dornesiio Marian tracking.

We dissares, however, wiht NAAG's apmroach to address, prevent, oul ered prosecute humen
TeMckng and seploitation, which aopeara ieited ta publim demands for minesure of adud categories on
aring classified websites. irreepecive of your admitted iack af legal arounds for inie demarid, #16 the
evident hadiy of ihe aporcach in which we most strongly object. Because we want io helo acive ihe
nroblem-—-not nun away from i-awe repest qur cffer of the following,

AS an intial mater. oereorahin is nat ine answer. The-Fiest Armendment to ine United Biates Canetifition
reanecis ard protects smeech, iiduding sexually explicit steternania between adults. Morscver, the
Cammunicaions Decency Act of 1996 makes clear that Gongresa expressly intended to preserve open
discourse ar ine internal, by immunizing websites Ike Gankmage nom from slate law Hability for conterr
generated by third ee ae i encourage webuies to ise beat otf aris fo filler content theaisdiveas. 47
US.c § 239 Cornosasion i your demand would insheae allow the aleevtea! officinis of varinus sigies to
deride what content is noweptable on the internet and ommoticgly to dedervdrne inat His accentable to
Dra an antire cetegory of speech on art unproven esaumplion inal # does more harm then good or

CONFIDENTIAL —— BP-PS|-544539
DOJ-BP-0004544871
Case 2:18-cr-00422-DJH Document 2009-2 Filed 12/04/23 Page 2 of 6

NMAUONG! ASSOCILON OF Allorneys eneral
Marah 23-2012
Page Zz

more Near ihes jusifies ihe arling presence of sf such speech This tyoe of censormshin wuld tes
exiranrdinaty siete action, akin to book-harming effoda mine Toki's.

Te

Free speech fasues aside, as & praciicg! mater, ine internel has unguesiionably made iraficking and

Beplol@ion mare visible, Bul yisiSitty should not bege! mieguidiad naligy. As Dr. danah boyd of Harvard's
Berionan Center for internet and Society has sigien “Heighienad visibility can easily prompt fear, as we
become concerned Baul ne tings Wiel we see inal we Gurtike. Bul Gurieas! prochinive dung inal we
can do with visihiity ig use if io generate fear. While fear and £ nsrage © en propel us to act, driving palicy
by fear can masily Deckiire and harm those thal wera ryiig fo neip.”

To De wre, more ampiicg! data regarding te role of the imernel in humen watficking ard child sex
exploitation is desperately needed. A iterative raview on human tralicking conducted for the LR.
Danertrant of JUSICe euesized: “[Tihe mnet mourn arene which needs urgent exploration is tne
way the knowledge upon which ihe guile debate about lraficking for oaxual and labor exploitation is
maged is genersted’” in the interim, “in no area of ihe social acienoss has eoclogy coriaminated
knowledge more pervasively ihan incaritings on ihe sex industry.” and “(foe offen in ine area, ihe canons
of Schengfin inquiry are suepanded ars) research delbersiely Rhewed to serve a particular povhcd!
agenda.” For example, ani-prosiitution advoonies often cite Men Who Buy Sex wih Adolescent Gis: A
aeendvic Reseerch Study which was orenerad by a marketing cormpany bred by an anti-arosttuhor
organisation. Albough the study purported tio assesa men's propensily lo secually expla minara onli,
ts meihodoicgy and canclusians were soundly refuted by The Urban iusituie in is regcat io ihe Mouse
dgdiciary Corpyities’s Supcurnmities or Crime, Terrorerm and Horneland Security“

‘at aver while wee dala is pending, acholars and jaw anforcernerd officials recagame that online
Sarvine Droviders arecin @ Unkiue DOSiION to camel human Paeficking and axtiotation a ey aniline
fechrioingy, we have mare people watching far and reporting sotential wots of signe of faticking or
expidiiaiion, and enhanced means of detecting and proseculing these orsctices. internet srathonors Ave
dignal rel 8 ve can lead other capture and prsvide useabie insighis inn ihe Tehaviar, lanhogques and
patiens. "As te LS.0. shu dy Biso found, “Trafficking onling thus presents the ani-diraficking community

‘Or danah boyd, Combezng Seeual Exnlotation Onin Faces an tie Networks of People, net the
Fectuiniooy, Statarient to Maasarhusale Atomey Genera! Martha Caskley as part of ine Hearing on
dotahon OQoline, att [October 19, 2014.

Sexual i

“Cr Mark Latoners, Human Trefickiny Gnine— The Sole af Social Nehwurking Stes aad Geline
Cinssifods, U.S.C. Annenberg Schou for Communications & Joumelism (Gant. 2011), available at

: : | ab igoaiing Efrbigta M, Ssazdziak and Miegsh N. Bump,

Date and Research on Human Tra! ig. Bikioge aony of Messanch- Based lieraive, Georgetwan

Wiversly inshhuite tor the Sludy of international Mignation, Cicr, 2008, at 48.5,

“Gd. Bde fu es Sheid Shang. Beyond he Natasha’ siury—-2@ seview anil cotigue af currant msearnt

, GLOBAL CAIME vol TG. ne. 3, at iy (Aug, s 2DOU.

Shed

“Onlieen ©. Caens and Wiliam Adams, feedhack on Men Whe Buy Ses with Adviescens Girls: A
Sowmrniie Resogreh Stucly { Sapte rier Zot),

2

* See Auman Teale fexing Cuiing, at 34-27 CAs peagle turn th techrotogy i negeatial
data becomes gvailalie and new imieractions become traceable. Y everyone ia willing ard engaged, ft
becomes possible to track ine fies af “ nighon around a5 exploitative rade in entirely new ways.“

Combating Sexual Exolotation Oaiing, at 2 C Historically, manan tefficking has occurred underground,

axchanges, new

CONFIDENTIAL BP-PSI-544540
DOJ-BP-0004544872

Case 2:18-cr-00422-DJH Document 2009-2 Filed 12/04/23 Page 3 of 6

Nadonal Association of Attorneys Generat
Barch 1, Gd

aides of the irefficking rade. °° An immigration and Custuns Enforcemant agerd invnived in fratioking
NVESTQSHONS snd Arena explained succinic: “Sore chia predators mustakenty believe ihe anonym
af cyberspace shields them fram scruliry in fact, ine use af ihe internet gives us mew fois int chy
afore taan gaie this insigious Dehawor*

i raccumion of this principle, several tragrarns dedicaied io studying the role of cornmunrinations

iecrmalogie Bay tie fight aga st UIT frafcking Maye Fecenily Deer Haunched, milucing ine Anreariberg

Centers Technology 4 Trafficking Inwative’ and a prograni aponsored py Microsoft Research and th
Microsoft Cigttal Crimes Unit® We believe that MAAG and Ha members would benefit fram thing itp
Scan and understanding tvs ongoing geork, and weowtaid be hapoy to keep you soprised of f.

Gackpece com nan eieady derionsiraied ihe valuable rue thet aniline service Drovers cen may in the
identticaiion arid. rescue of ireafficking victims end ihe parperarers of these crimes. The very
investigahons and orosenutigns that NAAG rapeatedty and publicly cites ae oravirgy thet Seckpage own is
uy hub ior huaner inalichers were made povsitle because of Backpage exeres eegerigss io hein law
anfuroginent officials. Esckpage.com regularly recenes praise fom those offimals, ine following are 4
how of hundreds of simular messagus:

tar, Pevrer,

You dus made my day.

Winall IS your official de. We wantic sube your name for reougnition of your assistance
inlkeaing Ins caad.

Thanks

fREDAC TED]

From:
Gate: |

REDACTED) qREGACTEDBREDALTEStanas gow
REDACTED) 2011, al [REDACTED] Aw CST

Cergiy Can, your sia did a great inh! We soprecisie Sackrage s wgilence to halo mrotect kids.
On out leant over ihe weekend were the Secret Serving, Dapadmentot Homeland Security, the
United States Attorney's Office and several local law enforcement agencies and all commented
on how efintlive Backpage waa mo geling ihe ads removed quickly and bineking fu ture aie fom

making Ht axtremel iy i cuit es Wy enfore semierd and resmue , orgenizations io ideantly are sed aci io caphure

ig

heroelraiors and save Vachs").

” Human Paafiowing Oniine, ale.
"Sef abot, notes 116-473.

Adam Pows!l, COOLS fivue? explores new fectniglowosl fools le combar human raficieng, USO
Arranberg C Caries on Communication Leadership & Paley [Now 7, 2074), avallahle at
neo NOcnBICN CRhONeadershig use edulingcce fotura vepioras new lechnological bands in corabat
Rumen Paticking Ban.

3

The Pole of Tectutology in Human Trafficking -AFP, avaiable at hin dvresearch minresalt convan-
usicolaborationiscusfeduca tion uman-vanickingy7hs genx,

CONFIDENTIAL BP-PSI-544541
DOJ-BP-0004544873
Case 2:18-cr-00422-DJH Document 2009-2 Filed 12/04/23 Page 4 of 6

Retonal Associaton af Attorneys Ganeral
March 23. 2042
Page

ihe same posters.

Ti give you @ call shorly. Thanks,

From: (REDACTED | SREDACTEDION 41 gov:
fate. (REDACTED), 2012 at REQACTEU! PM

Dar Bacepace Stak,

ae

AS ghways, thank yuu for Pe excentionally ora reseeise and iar your research eMoria. Bi
aiwaya 8 Sleasure ty deal wih Bacepage.

Sincerely,

REDACTED

From, [REDACTED] YREGAR TED iiaty
Gmie [REDACTED AM TIREOAC TED) AM

ee

Loar thank you and your staff encugh for being $a reanonsive and supportive of my and
other law anforcement sfforis commerning thease cases. Your comoany’s level of cocmearalion is
net the neret ard makes ao huge cifferencs in our abiliy to target and ulimately arrest ine
offender

Heosgrescihly Subrittes, :
IREDAC TECH 18

Suviar HY. ihe prakiden! of Te Netianel Carder far Missing and Exploited Chikdran has jeuded
Hae pare cones genuine corunitmert to helo stop oes trafficking and obeervad inal iis amninyees re
“BQgras sively reviewing their ade” anc Ned “reporied 4,800 ads that they believe ere suapinioua’”
indeed, Bar ckpage. gum asiablished 2 special “exmedhed” ine to MCRAEC for urgent reparis. of potentially
rationed munare (Le. situations where mnmsrent rescue of chiid sex crime viciime may be possible).

Ab base, NASgs’s aopreanh ignores a furmianiental and indisputable fact The internet i¢ net qoing way.
AS @xperis have exmlaured, H one portal is uoseu, cindiais wil find anoiner and anather and another
“You May be able io Bee Transactions through Creigsist or Back Page Isic] ful here are countess aifusr
technolages inet ara amminyed im excitation. And every me inet you iry io. make if weap’ ar nme
GOS, POGS Ub Gn arrahner kormesi aed (er Guia? juriscigtion.”" Ag
boyd of Harvard nas sisted: “Gain

we Pay
Bude,

initation becomes Visible and attempting

i afadicaie ihe “sib li y goes nothing io address the neworks of aumnly aad demand—K simmy nushes
therm io evycive and exniolers find new digial haunia and go further undergraurd. ... Eradmating
am.

w "ie have redacted the naties and peosunaly identiivires miorinetiot of the agerds and officers.

ne nd 4 PEN on ayo ent

” Comefius Frauk, Ses inde didves by exgintiig ipfernet, DAYTON DALY NEWS 4 iSept 28, 204},
avaiable at hip eww daylondally news comnews/orimegex-irade thrives nye i
{SAN a Rirat.

© Cagit ating Sexual Evgiotation Online, ai 2. AS merely one exarnpie, ine £
Oxew ineendicre view com) imanstarrerd ts cayneranip Ip eee and has endeavored: oe commesi the

localinnt ang trad of ts onkine operations through 4 Washington Slate daniain name orvacy registration
Sernace.
~~ CONFIDENTIAL BP-PSI-544542

DOJ-BP-0004544874
Case 2:18-cr-00422-DJH Document 2009-2 Filed 12/04/23 Page 5 of 6

Nations) ASSOCInON af Atorneys Gererai
Marsh 23. 2012
Page 6

visiily does not break the bade melwitrk Heed nd icioes make it Nerder fo qetio the sourte of
araitetines” S de ather words. trafic HeTS CAM and wil migrate beahween any of G00 mr mine wehetns
guapected of directly or indirectly faciilating sax taSicking and sex tousien.”* “H you focus on the sites,
youve be phaying whack-«aaigle ant hedging no one a

>

We agree with the oalis for a collebersiive eNort arong governniecty, NGOs onli serving preividers
and aiher puGho and mrivate interasia to oriloady analyre ihe role of ine infeed in human trafficking and
io work tower! raggringid sohtions and we have on cistantly Cermonsi gigd our Genulte commer
fo such collaboratian for nieve then four years, by consitting NAAG meniners, imolereniing ther
Suggestions, fetaining ondd safety consullants, and cortinuing fo meel with pudlo interest grnuns
(inchucing rnoriniy meetings with NOMEC) and subio oficiats

Puckneage com wauld Bee ts collaboration to cariinue, ealhicugh we must sey thet we do nol wew
NAAG'S Genignd Ha ivformayon fi & letter tial synudaneousiy and publicly accuses Backpage com of

menginaly in the horriic oro of cruid sex trafficking es colleboraive. Aomheless, we oravide under
suparaie cover raspaiges fo the questions Goad by NAAG In #8 SagquetS1, 2041 jeter. Pursuant te cur
aoreement wiih NAAG we have designated fis infarraation as confidential becauers, for exarcpis,
would obwously hinder law enigroemaent afforis io mase public Backpage.com’s practices for reviewing
and reporting suapect ada. Backpage. com provides tie sunplariuantal infernation arul tes letter aithaut
tfeludiom and while preserving ai legal cgnts. including sider ine First Amandment, ihe Connrunications
Decency Act, anddihe Oat Rights Act, AZ B05 TGaS.

ms

Backoage com slands ready to continue onflaheration with NAAIS ang individual Athereys Gereral 26
we do roulinely with fronting law enforcarnand, NGOs. and other online industry particicents io light child
ans) human trafficking. HMAAG or is mermbera would ike fo further discuss Backnage conve moderation
practices or ihe technological means wilh which to prevent aad combat Welicking or gaphoiaton, we
whuld fe i happy ta go ou. TO G8 Char, however, we bekeve Roawnuld be uraise and. iy fact,

courderproductive in eliminate the edulf calegury from ihe webslia, We alse bulieve thal your cublic
Bia ateFHGTNS gashgating Backpage.com gre counternroduciive, particularly given ihe admissign by Avorney
Genera Rob Morenna, NAAGSS president, thal he ar ne other Alturneys General “know they have ite
legal ending io farcibly shut down (Backpage com)’ fT NAAG anst its members are interesied |
nocperation, sea will stom ingiesd simply nortinuing demanding eirsinstion of ihe adult omlegery, Hease
ile krigw by March 26, 2042 so inal we tuay chatermins how fo proceed,

ay

a

tet at 2

This figure comes trom 8 web analysis ws mad by ihe ant-dralicking organization, Gheced Hope
intemetional See Hurrarn Treficking On eat tia
18

Combating Sid Expinigton Oning, at 2

© Mum Tasficking Oning, aivi & 39 (Sisocesstul implementation of ari-iaicking wohachoaigs

POQLTSs COnEralion among aciore aormeas government, nongovernmental, and privaie sects, sharing
iMfgrmahon aad corn muncaling in a courdinaled mariner. h: see aisn Combating Sexual Expinia
ing, ath curging General (oakley ic "fingege camnpardes te caligborate with you in cormbatine

BXPIOHSRION’)
“ Rnb MoKenna far Governor website, reprinting aditarial, ifs an uohI fight, bul officials nighy io go afer

backpage.com, THE OLY MtiAN (Sept. 8. 2074), avaliable at,
Rip ny robmokenns oryraweite nile 22 S80 4. Q0s-unhalightoticinie-right-oy-afier-backpageron.

CONFIDENTIAL — BP-PSI1-544543
DOJ-BP-0004544875

hwhongl Assad

We ginceraly nape io work with you io combat iis igsua.

Wery Igy yours, *
. yee IOS

Ebz

Gere
VWihege voles Medio

AG

CONFIDENTIAL Enclosures:

Holdings, LLC

Exhibit ALDACKPAGE COM SUPSLEMENTAL REPONSES.
NAAT REQUESTS FOR INFORMATION)

Exhioh Bu nthe Matter af Backpage. oom, APPS,
Exhibl C(SAMPL:

ET
OF BADRPAGE COM PRGNIEG]

FRIGATE? OF CARL FERRER
2 WORDS, ACRONYMS AND CODER)

Case 2:18-cr-00422-DJH Document 2009-2 Filed 1

2/04/23 Page 6 of 6

elon of Atorngys feng
haaroh = a, 2a

MATHOOT PRESUGICE, TO

Exhibit D Un the Mater of Backoage cam CONFIOENTIALITY A GREEMENT}

ge

cee Don Bennett Mour

CONFIDENTIAL

BP-PS|-544544
DOJ-BP-0004544876

